             Case 18-11840                    Doc 53            Filed 08/08/18 Entered 08/08/18 10:56:02                 Desc Main
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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Karen R Merritt                                                                                Case No.    18-11840
                                                                                Debtor(s)                  Chapter     13


                                                              MOTION TO DISMISS CASE
            Debtor,         Karen R Merritt              , commenced this case on      May 16, 2018     by filing a voluntary petition for relief

under Chapter 13 of Title 11 of the United States Bankruptcy Code.

            1.          On or about August 6, 2018                    debtor seeks dismissal of her Chapter 13 Bankruptcy Case.


         WHEREFORE, Debtor prays for an Order dismissing the Chapter 13 Case and for such additional or alternative
relief as may be just and proper.




 Dated:        August 6, 2018                                                         Karen R Merritt
                                                                                      Debtor
                                                                                      By Counsel:

                                                                                      /s/ Constant S. Poholek
                                                                                      Constant S. Poholek
                                                                                      BBO 556832
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